

People v Sidhilall (2024 NY Slip Op 06310)





People v Sidhilall


2024 NY Slip Op 06310


Decided on December 17, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 17, 2024

Before: Kern, J.P., Singh, González, Kennedy, Higgitt, JJ. 


Ind. No. 70300/22 Appeal No. 3276 Case No. 2022-04644, 2022-03282 

[*1]The People of The State of New York, Respondent,
vHardat Sidhilall, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah Chamoy of counsel), for respondent.



Appeals having been taken to this Court by the above-named appellant from judgments of the Supreme Court, Bronx County (Linda Lopez, J.) rendered June 27, 2022, and (Marsha, Michael D., J.), rendered September 27, 2022,
Said appeals having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgments so appealed from be and the same are hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 17, 2024
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division, First Department.








